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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B) Page | of 2 (Page 2 Not for Public Disclosure)
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UNITED STATES DISTRICT COURH! 80) fou"
for the

Southern District of Georgia 2OISAPR -2 PH 2: 143

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United States of America

v. )
) Case No: CRI102-00007-001 _ -
Charles C. Major )
) USMNo:  89720-071 oo
Date of Original Judgment: June 26,2002 )
Date of Previous Amended Judgment: April 4,2012 ) Robert W. Hunter, III _ ee
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of [J the defendant [] the Director of the Bureau of Prisons L] the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
C)DENIED. [&€GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of 240 _ months is reduced to Time Served

(Complete Parts I and II of Page 2 when motion is granted)
In addition to reducing the imprisonment term as noted above, the previously imposed term of supervised release is
reduced to aterm of _8 years, Furthermore, the defendant shall be delivered to a duly authorized Immigration and
Naturalization official for deportation proceedings.

Except as otherwise provided, all provisions of the judgment dated June 26,2002 shall remain in effect.
IT IS SO ORDERED. A |

y. yy
Order Date: tiprd 2 ‘ AOlT FE

Effective Date: Cpt, 2p/7 Dudley H. Bowen, Jr.

 

United States District Judge
(if different from order date) Printed name and title
